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     EXHIBIT A
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                              UNITED STATES TAX COURT
                                   WASHINGTON, DC 20217


THOMAS DRENNAN SELGAS,            )
                                  )
            Petitioner,           )
                                  )
            v.                    ) Docket No. 10164-12.
                                  )
COMMISSIONER OF INTERNAL REVENUE, )
                                  )
            Respondent            )
                                  )


             ORDER OF DISMISSAL FOR LACK OF JURISDICTION

           On June 21, 2012, respondent filed a Motion To Dismiss for Lack of
    Jurisdiction on the ground that the petition in this case was not timely filed. On
    July 31, 2012, petitioner filed a Motion To Strike requesting that the United States
    Postal Service document that respondent attached in support of his Motion To
    Dismiss for Lack of Jurisdiction, be stricken from the record. On July 31, 2012,
    petitioner filed an Objection to Respondent's Motion To Dismiss for Lack of
    Jurisdiction alleging that the notice of deficiency for tax years 2003 and 2004, on
    which this case is based, was not sent to his last known address. On August 16,
    2012, Respondent's Supplement to Motion To Dismiss for Lack of Jurisdiction
    was filed, in which, inter alia, respondent notes that petitioner's objection raised
    issues concerning his last known address at the time respondent issued the notice
    of deficiency on which this case is based.

            On October 10, 2012, respondent's Response to Petitioner's Objection to
    Respondent's Motion To Dismiss for Lack of Jurisdiction was filed in which, inter
    alia, respondent concedes that the notice of deficiency upon which this case is
    based was not mailed to petitioner's last known address and is thus invalid, and
    requests that the motion to dismiss, filed June 21, 2012, be denied.




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      Also, on October 10, 2012, respondent filed a Response to Petitioner's
Motion To Strike, stating that, because of respondent's concession that a valid
notice of deficiency has not been issued to petitioner with respect to his 2003 and
2004 tax years, that the motion to strike should be considered moot.

       On November 27, 2012, respondent filed a Motion To Dismiss for Lack of
Jurisdiction on the ground that the notice of deficiency on which this case is based
was not issued to petitioner at his last known address and thus was not validly
issued pursuant to the requirements of Internal Revenue Code section 6212. On
December 17, 2012, Petitioner's Objection to the Respondent's Motion To Dismiss
for Lack of Jurisdiction was filed. Therein, petitioner does not raise an objection
to the granting of respondent's motion.

      Upon due consideration and for cause, it is

      ORDERED that respondent's Motion To Dismiss for Lack of Jurisdiction,
as supplemented, based on the ground that the petition filed in this case was
untimely, filed June 21, 2012, is denied. It is further

       ORDERED that respondent's Motion To Dismiss for Lack of Jurisdiction,
filed on November 27, 2012, is granted and this case is dismissed on grounds that
the notice of deficiency on which this case is based is invalid. It is further

      ORDERED that petitioner's Motion To Strike, filed July 31, 2012, is denied
as moot.



                                 (Signed) Michael B. Thornton
                                           Chief Judge




ENTERED:        JAN 29 2013




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